Case 1:20-cr-00158-CMA Document 28 Filed 05/15/20 USDC Colorado Page 1 of 3




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 20-mj-00054-NYW

UNITED STATES OF AMERICA,

               Plaintiff,
v.

1. BRADLEY BUNN,

               Defendant.


                            RENEWED MOTION FOR DETENTION


       The United States of America, by undersigned counsel, respectfully moves the Court

under 18 U.S.C. § 3142(f) to detain the defendant before trial. This motion is based upon new

information that neither of the key protections previously discussed as conditions of release is

viable at this time, namely residence at a halfway house and in-patient mental health treatment.

The government also incorporates by reference new information set forth in its motion at ECF

#17 and to be proffered in the hearing scheduled on May 18, 2020. For these reasons, the

government submits that there are no conditions or combination of conditions will reasonably

assure the appearance of the defendant as required and the safety of any other person and the

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Case 1:20-cr-00158-CMA Document 28 Filed 05/15/20 USDC Colorado Page 2 of 3




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community. Accordingly the Court should detain the defendant pending trial.

       Dated this 15th day of May, 2020.

                                           JASON R. DUNN
                                           United States Attorney

                                           s/ David Tonini
                                           Assistant United States Attorney
                                           United States Attorney’s Office
                                           1801 California St, Suite 1600
                                           Denver, Colorado 80202
                                           Telephone: 303-454-0100
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Case 1:20-cr-00158-CMA Document 28 Filed 05/15/20 USDC Colorado Page 3 of 3




                                          3
                                CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of May, 2020, I electronically filed the foregoing
RENEWED MOTION FOR DETENTION Clerk of the Court using the CM/ECF system
which will send notification of such filing to the following e-mail address:

Defense Attorney:
Matt Golla

                                                     s/ David Tonini
                                                     By: David Tonini
                                                     Assistant U.S. Attorney
